                                 UNITED STATES DISTRICT COURT
                               FOR THE NOTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

    Larry D. Reid, et al                           )               Case No. 1:21-cv-00991-JG
                                                   )
                                                   )
                                                   )
                                                   )
                     Plaintiffs,                   )               Judge: James S. Gwin
                                                   )
             -vs-                                  )
                                                   )       MOTION TO DISMISS
    Darryl Moore                                   )
                                                   )
                     Defendant.                    )


            The Defendant’s Motion to Dismiss the Complaint Pursuant to Federal Rule 19
                             for Failure to Join an Indispensable Party



             Now comes the defendant Darryl Moore by and thru Attorney Fred D. Middleton and

         moves this honorable court to dismiss the complaint herein for Failure to Join Indispensable

         Parties pursuant to Federal Rule of Civil Procedure 19.

         See RULES OF CIVIL PROCEDURE FOR THE UNITED STATES DISTRICT
         COURTS [1]
         Title IV. PARTIES
         “Rule 19. Required Joinder of Parties
   (a)      PERSONS REQUIRED TO BE JOINED IF FEASIBLE.
   (1)     Required Party. A person who is subject to service of process and whose joinder will not
         deprive the court of subject-matter jurisdiction must be joined as a party if:
     (A)        in that person's absence, the court cannot accord complete relief among existing parties;
         or
     (B)     that person claims an interest relating to the subject of the action and is so situated that
         disposing of the action in the person's absence may:
(i)         as a practical matter impair or impede the person's ability to protect the interest; or
(ii)         leave an existing party subject to a substantial risk of incurring double, multiple, or
         otherwise inconsistent obligations because of the interest.”


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    The complaint fails to join the parties who made the alleged statements and the actual persons

who were subjects of the activities the plaintiff complains have damaged him.

    The complaint states the parties who were the subject of the statements complained of were

interviewed and made the alleged accusations during the interviews. These were the interviews

complained of and the statements were made by the third parties.

    See plaintiff’s Complaint Paragraph 38;


        “38. Moore has presented guests on his live stream who allege that they were molested by

Reid, and recount what they claim are the details surrounding those events. These have appeared

via audio and video, on live streams that aired on April 20 2021 and May 2, 2021, which claims

were false as those acts of molestation did not occur.”

    The parties who made any such statements are necessary and indispensable parties and any

ruling made in this case would not be complete and leave third parties as future litigates.

    Per Federal Rules of Civil Procedure 19 this case should be dismissed for failure to join an

indispensable party.

                                                      Respectfully submitted,


                                                      /s/ Fred D. Middleton.
                                                   Fred D. Middleton 0025555
                                                   3139 Morley Rd.
                                                   Shaker Heights, Ohio 44122-
                                                   Telephone: 216.566-8000
                                                   FLEGAL124@GMAIL.COM




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                    CERTIFICATE OF S E R V I C E


      A copy of the herein filled Motion was served VIA Efile System upon
Raymond V. Vasvari, Jr. vasvari@vasvarilaw.com and                  K. Ann   Zimmerman
zimmerman@vasvarilaw.com , this 21st            day June, 2021.


                                        /s/ Fred D. Middleton
                                        Fred D. Middleton
                                        Attorney for Defendant




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